Case 3:16-md-02738-MAS-RLS Document 32484-1 Filed 05/31/24 Page 1 of 3 PageID:
                                 184739



                                EXHIBIT A
       Case 3:16-md-02738-MAS-RLS Document 32484-1 Filed 05/31/24 Page 2 of 3 PageID:
                                        184740


                                                                                 Press Release

       ATTORNEYS FOR WOMEN HARMED BY JOHNSON & JOHNSON’S
       TALCUM POWDER RESIST COMPANY’S ATTEMPT TO STUFF BALLOT
       BOX IN UNPRECEDENTED THIRD ATTEMPTED BANKRUPTCY
       Lawyers for victims accuse the company of encouraging “junk claims” not
       backed by science and unenforceable in court

       Montgomery, AL (May 1, 2024)– A coalition of attorneys representing tens of
       thousands of women harmed by Johnson & Johnson’s talc-based powder products is
       challenging J&J’s attempt to weaponize unrelated claims in exchange for votes on a
       payment plan that would cheat victims legitimately harmed by talc. It’s a shocking new
       legal strategy that could strip consumers of their constitutional rights and allow major
       corporations to evade responsibility for the harm caused by defective products.

       The lawyers, who represent victims and their families in lawsuits alleging J&J’s talc-
       containing products have led to deadly ovarian cancer and mesothelioma, are sounding
       the alarm based on a solicitation by J&J to individual law firms and their clients which
       seeks approval of the payment plan as part of a so-called “pre-packaged” bankruptcy.

       “We believe any bankruptcy based on this solicitation and vote will be found fraudulent
       and filed in bad faith under the Bankruptcy Code,” said Andy Birchfield, head of the
       Mass Torts Section at the Beasley Allen Law Firm. “On behalf of our clients who
       deserve better, we are blowing the whistle on this cynical legal tactic and will resist it
       at every turn.”

       Consider the following:

          J&J officials have previously testified that cancer claims outside of ovarian cancer
          and mesothelioma are worthless. Now the company promises minimal payments for
          these “worthless” claims in exchange for a “yes” vote.
          J&J is offering small payments to receive support for a payment plan that would
          force legitimate victims to receive far less in compensation than they deserve.
          Medical costs for treating ovarian cancer can total more than $1.5 million per
          patient, with an average near $220,000. That financial burden is further worsened
          by lost wages and other costs related to serious, often lifelong illnesses. J&J’s
          proposal relying on fraudulent ballots would pay pennies on the dollar if accepted by
          the bankruptcy court.
          In October 2021, at the time of the first J&J/LTL bankruptcy, there were
          approximately     35,000    lawsuits   alleging   talc-caused   ovarian    cancer  or
          mesothelioma. On the heels of a ruling by the U.S. Court of Appeals for the Third
          Circuit, finding that the bankruptcy was filed in bad faith, J&J quickly produced an
          agreement with attorneys claiming to represent 60,000 claimants. Previously these
          attorneys had filed few if any lawsuits against the company.




                                           CONTACT US TODAY:
Since 1979, Beasley Allen has dedicated itself to the mission of “helping those who need it most.” We have
secured verdicts and settlements amounting to billions of dollars, championing justice in complex plaintiff
litigation across the nation. Our team of skilled attorneys, supported by a robust staff, has fought for
thousands of clients to obtain the justice they deserve. To learn more about our firm’s impact and services,
please visit our website at www.BeasleyAllen.com.
                  Media Contact: Media@BeasleyAllen.com l 334-495-1511 (Call or Text)
       Case 3:16-md-02738-MAS-RLS Document 32484-1 Filed 05/31/24 Page 3 of 3 PageID:
                                        184741


                                                                                 Press Release

          Many new claimants do not have ovarian cancer or mesothelioma — the only two
          conditions for which there is a scientific connection to talc. Instead, they are
          claiming other gynecological cancers (cervical, vaginal, uterine, endometrial) or even
          non-gynecological cancers, none of which has ever been connected to talc.
          If J&J can stuff the ballot box, this abusive tactic will become an important
          precedent emboldening other corporate entities to seek to avoid responsibility and
          subvert the U.S. bankruptcy system in the same way. In this case, victims of serious
          medical conditions not linked to talc should avoid being manipulated in this way.

       “We view this as another example of the abusive and underhanded tactics J&J has
       been using for years,” said Mike Papantonio of Levin Papantonio Rafferty. “J&J is
       covertly soliciting law firms to accept their deal, promising a swift payday for some
       opportunistic lawyers.”

       Michelle Parfitt, co-lead counsel for the thousands of plaintiffs whose claims were
       previously consolidated in multidistrict litigation in federal court, and senior counsel at
       Ashcraft & Gerel, predicts that J&J’s attempt to “coerce ” victims will fail. “These
       ongoing legal machinations have not and will not cause lawyers to lose their resolve
       and accept less than fair and reasonable offers. It is clear by these recent filings that
       J&J will stop at nothing.”

       J&J has twice sought to move all the company’s talc liabilities to a subsidiary and take
       that business unit into bankruptcy, providing a mechanism to settle claims at a
       fraction of their worth. In both instances, the courts have found the company, with a
       current market cap of $350 billion, acted in bad faith and could not claim insolvency.

       Under the “pre-pack” strategy, J&J would have to garner approval of its terms from a
       supermajority of 75% of verifiable claimants.

       “It seems unlikely that J&J would pursue this course without some belief, even if
       misplaced, that the 75% threshold can be achieved,” said Leigh O’Dell, co-lead
       counsel for plaintiffs in the federal MDL and principal at the Beasley Allen Law Firm.
       “The company is afraid of a legitimate vote among those who are truly sick and the
       families of the deceased who have been battling J&J’s obstruction and bad faith for
       years and who are supported by numerous scientific studies showing that talc contains
       asbestos and other known cancer-causing ingredients,” added Ms. O’Dell.

       Following the vote solicitation, J&J is expected to seek approval from a bankruptcy
       court in Texas. “This will be the third bankruptcy in three years,” noted trial lawyer
       Richard Golomb, of Golomb Legal P.C. “I just hope the bankruptcy courts do not allow
       the company to get away with manipulating the legal process and bankruptcy law by
       improperly shopping for a forum that will give the company what it wants.”




                                           CONTACT US TODAY:
Since 1979, Beasley Allen has dedicated itself to the mission of “helping those who need it most.” We have
secured verdicts and settlements amounting to billions of dollars, championing justice in complex plaintiff
litigation across the nation. Our team of skilled attorneys, supported by a robust staff, has fought for
thousands of clients to obtain the justice they deserve. To learn more about our firm’s impact and services,
please visit our website at www.BeasleyAllen.com.
                  Media Contact: Media@BeasleyAllen.com l 334-495-1511 (Call or Text)
